
68 So.3d 892 (2011)
Garron BETHEL
v.
STATE of Alabama.
CR-10-0176.
Court of Criminal Appeals of Alabama.
February 4, 2011.
Garon Bethel, pro se.
Troy King, atty. gen., and P. David Bjurberg, asst. atty. gen., for appellee.
WINDOM, Judge.
AFFIRMED BY UNPUBLISHED MEMORANDUM.
WELCH, P.J., concurs. KELLUM, J., concurs specially, with opinion.
KELLUM, Judge, concurring specially.
I write specially to note that this action appears to be Garron Bethel's sixth Rule 32, Ala. R.Crim. P., petition challenging his 1998 convictions for third-degree receiving stolen property and two counts illegal possession of credit cards and his resulting concurrent sentences to 20 years' imprisonment. I believe that allowing Bethel to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir.1986), to prevent future frivolous litigation on the part of Bethel and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App. 2009).
